              Case 2:11-cr-00365-GEB Document 110 Filed 03/09/12 Page 1 of 6


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 2
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     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     RONALD REEVES
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-365 GEB
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND
                                                    )       [PROPOSED ORDER] CONTINUING
11
     v.                                             )       STATUS CONFERENCE
                                                    )
12
     JOSE AGUILAR-MADRIZ, et al.,                   )
                                                    )       Date: April 27, 2012
13
                                                    )       Time: 9:00 a.m.
           Defendants.                              )       Judge: Honorable Garland E. Burrell, Jr.
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                                                    )
                                                    )
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                                                    )
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            IT IS HEREBY stipulated between the United States of America through its undersigned

18
     counsel, Daniel S. McConkie, Jr., Assistant United States Attorney, together with counsel for

19
     defendant Jose Aguilar-Madriz, Preciliano Martinez, Esq., counsel for defendant Ronald Reeves,

20
     John R. Manning, Esq., counsel for defendant Artemio Aguilar, Dan F. Koukol, Esq., counsel for

21
     defendant Juan Silva, Carl E. Larson, Esq., counsel for defendant Salvador Silva, J Toney, Esq.,

22
     counsel for defendant David Martinelli, Michael B. Bigelow, Esq., counsel for defendant

23
     Gregorio Zapien-Mendoza, Scott N. Cameron, Esq., counsel for defendant Gabino Cuevas-

24
     Hernandez, Hayes H. Gable, III, Esq., counsel for defendant Sarah Marshall, John P. Balazs,

25
     Esq., counsel for defendant Moses Puledo Aguilar, Clemente M. Jimenez, Esq., counsel for

26
     defendant German Alvarez Ortega, Preeti K. Bajwa, Esq., counsel for defendant Adam Gutierrez

27
     Cruz, Erin J. Radekin, Esq., counsel for defendant Manuel Madriz Sanchez, Kyle R. Knapp,

28
     Esq., and counsel for defendant Pedro Aguilar Aguilar, Olaf W. Hedberg, Esq., that the status



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 1   conference presently set for March 9, 2012 be continued to April 27, 2012, at 9:00 a.m., thus
 2   vacating the presently set status conference.
 3          Further, all of the parties, the United States of America and all of the defendants as stated
 4   above, hereby agree and stipulate that the ends of justice served by the granting of such a
 5   continuance outweigh the best interests of the public and the defendants in a speedy trial and that
 6   time under the Speedy Trial Act should therefore be excluded under Title 18, United States Code
 7   Section 3161(h)(7)(A) and (B)(ii) and (iv) and Local Code T-4 (to allow defense counsel time to
 8   prepare) from the date of the parties stipulation, March 7, 2012, to and including April 27, 2012.
 9   The requested continuance is to allow the defense more time to review the discovery and conduct
10   investigation.
11   IT IS SO STIPULATED.
12
     Dated: March 7, 2012                                          /s/ Perciliano Martinez
13                                                                PERCILIANO MARTINEZ
                                                                  Attorney for Defendant
14                                                                Jose Aguilar-Madriz
15
     Dated: March 7, 2012                                          /s/ John R. Manning
16                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
17                                                                Ronald Reeves
18
     Dated: March 7, 2012                                         /s/ Dan F. Koukol
19                                                                DAN F. KOUKOL
                                                                  Attorney for Defendant
20                                                                Artemio Aguilar
21
     Dated: March 7, 2012                                          /s/ Carl E. Larson
22                                                                CARL E. LARSON
                                                                  Attorney for Defendant
23
                                                                  Juan Silva
24
     Dated: March 7, 2012                                          /s/ J Toney
25                                                                J TONEY
                                                                  Attorney for Defendant
26
                                                                  Salvador Silva
27
     Dated: March 7, 2012                                         /s/ Michael B. Bigelow
28                                                                MICHAEL B. BIGELOW


                                                      2
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                                                    Attorney for Defendant
 1
                                                    David Martinelli
 2
     Dated: March 7, 2012                           /s/ Scott N. Cameron
 3                                                  SCOTT N. CAMERON
                                                    Attorney for Defendant
 4
                                                    Gregorio Zapien-Mendoza
 5
     Dated: March 7, 2012                           /s/ Hayes H. Gable, III
 6                                                  HAYES H. GABLE, III
 7
                                                    Attorney for Defendant
                                                    Gabino Cuevas-Hernandez
 8
     Dated: March 7, 2012                            /s/ John P. Balazs
 9                                                  JOHN P. BALAZS
10
                                                    Attorney for Defendant
                                                    Sarah Marshall
11
     Dated: March 7, 2012                           /s/ Clemente M. Jimenez
12
                                                    CLEMENTE M. JIMENEZ
13                                                  Attorney for Defendant
                                                    Moses Puledo Aguilar
14
     Dated: March 7, 2012                           /s/ Preeti K. Bajwa
15
                                                    PREETI K. BAJWA
16                                                  Attorney for Defendant
                                                    German Alvarez Ortega
17
     Dated: March 7, 2012                           /s/ Erin J. Radekin
18
                                                    ERIN J. RADEKIN
19                                                  Attorney for Defendant
                                                    Adan Guitierrez Cruz
20
     Dated: March 7, 2012                           /s/ Kyle R. Knapp
21
                                                    KYLE R. KNAPP
22                                                  Attorney for Defendant
                                                    Manuel Madriz Sanchez
23
     Dated: March 7, 2012                           /s/ Olaf W. Hedberg
24
                                                    OLAF W. HEDBERG
25                                                  Attorney for Defendant
                                                    Pedro Aguilar Aguilar
26

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     Dated: March 7, 2012                            Benjamin B. Wagner
 1
                                                     United States Attorney
 2
                                               by:   /s/ Daniel S. McConkie, Jr.
 3                                                   DANIEL S. MCCONKIE, JR.
                                                     Assistant U.S. Attorney
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     RONALD REEVES
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 7
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                         ) No. CR-S-11-365 GEB
10
                                                       )
                                                       )
11          Plaintiff,                                 ) [PROPOSED] ORDER TO
                                                       ) CONTINUE STATUS CONFERENCE
12
     v.                                                )
                                                       )
13
     JOSE AGUILAR-MADRIZ, et al.,                      )
                                                       )
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                                                       )
            Defendants.                                )
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                                                       )
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            The Court, having received, read, and considered the stipulation of the parties, and good

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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based

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     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that

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     it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within

23
     the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the

24
     failure to grant a continuance in this case would deny defense counsel to this stipulation

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     reasonable time necessary for effective preparation, taking into account the exercise of due

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     diligence. The Court finds that the ends of justice to be served by granting the requested

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     continuance outweigh the best interests of the public and the defendants in a speedy trial.

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                            Case 2:11-cr-00365-GEB Document 110 Filed 03/09/12 Page 6 of 6


                           The Court orders that the time from the date of the parties' stipulation, March 7, 2012, to
 1
     and including April 27, 2012, shall be excluded from computation of time within which the trial
 2
     of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
 3
     3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense counsel to
 4
     prepare). It is further ordered that the March 9, 2012, status conference shall be continued until
 5
     April 27, 2012, at 9:00 a.m.
 6

 7   IT IS SO ORDERED.
 8
     Date: 3/8/2012
 9
                                                                         _________________________
10                                                                       GARLAND E. BURRELL, JR.
                                                                         United States District Judge
11
     DEAC_Signature-END:




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